              Case 2:18-cr-00214-JLR Document 18 Filed 09/12/18 Page 1 of 2




 1                                                             The Honorable James L. Robart
 2
 3
 4
 5
 6
 7                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                         NO. CR18-214JLR
11
                            Plaintiff
                                                        NOTICE OF RELATED CASE
12
13
                       v.
14
      PRADYUMNA KUMAR SAMAL,
15
                            Defendant.
16
17         The United States of America, by and through Annette L. Hayes, United States
18 Attorney for the Western District of Washington, and Siddharth Velamoor, Assistant
19 United States Attorney for said District, submits the following notice.
20         The above-captioned cause is directly related to the case of United States v.
21 Barbara Tomaszewski, CR18-213JLR, in which Barbara Tomaszewski is a Defendant. In
22 that case, the Defendant has pleaded to Conspiring with the Defendant in this case,
23 including with regard to the commission of the offense charged in this case.
24
25
26
27
28
     NOTICE OF RELATED CASE - 1                                          UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     CR18-214JLR
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
                Case 2:18-cr-00214-JLR Document 18 Filed 09/12/18 Page 2 of 2




1            DATED this 12th day of September, 2018.
2
3                                                              Respectfully submitted,
4
                                                               ANNETTE L. HAYES
5                                                              United States Attorney
6
7
                                                               s/ Siddharth Velamoor
8
                                                               SIDDHARTH VELAMOOR
9                                                              Assistant United States Attorney
                                                               United States Attorney’s Office
10
                                                               700 Stewart Street, Suite 5220
11                                                             Seattle, WA 98101-1271
                                                               Telephone: (206) 553-7970
12
                                                               Fax:          (206) 553-2502
13                                                             E-mail: Siddarth.Velmaoor@usdoj.gov
14
15
16
17
18
19                                        CERTIFICATE OF SERVICE

20        I hereby certify that on September 12, 2018, I electronically filed the foregoing with the Clerk of the
     Court using the CM/ECF system which will send notification of such filing to the attorney(s) of record for
21
     the defendant(s).
22
23                                                             /s/ Kylie Noble
24                                                             KYLIE NOBLE
                                                               Legal Assistant
25                                                             United States Attorney’s Office
                                                               700 Stewart Street, Suite 5220
26                                                             Seattle, WA 98101-3903
                                                               Telephone: (206) 553-2520
27                                                             Fax: (206) 553-4440
                                                               E-mail: kylie.noble@usdoj.gov
28
      NOTICE OF RELATED CASE - 2                                                       UNITED STATES ATTORNEY
                                                                                      700 STEWART STREET, SUITE 5220
      CR18-214JLR
                                                                                        SEATTLE, WASHINGTON 98101
                                                                                              (206) 553-7970
